Case:17-03283-LTS Doc#:17127 Filed:06/21/21 Entered:06/21/21 15:33:19                                       Desc: Main
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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF PUERTO RICO
  ----------------------------------------------------------x
  In re:                                                                           PROMESA
                                                                                   Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,
           as representative of                                                    No. 17 BK 3283-LTS
  THE COMMONWEALTH OF PUERTO RICO                                                  (Jointly Administered)
  et al.,
                             Debtors. 1
  ----------------------------------------------------------x
                      ORDER FURTHER AMENDING CASE MANAGEMENT PROCEDURES

                    The Fourteenth Amended Notice, Case Management and Administrative

  Procedures, dated March 1, 2021 (Docket Entry No. 15894 in Case No. 17-3283), applicable in

  these jointly administered Title III proceedings, are hereby amended to schedule omnibus hearing

  dates through December 2022. The text of the Fifteenth Amended Case Management Procedures

  is attached to this Order as Exhibit 1. A redline reflecting the changes is attached to this Order as

  Exhibit 2.

           SO ORDERED.

  Dated: June 21, 2021
                                                                                /s/ Laura Taylor Swain
                                                                                LAURA TAYLOR SWAIN
                                                                                United States District Judge


  1
           The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last
           four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth
           of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of
           Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case
           No. 17-BK-3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and
           Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four Digits of Federal
           Tax ID: 3808); (iv) Employees Retirement System of the Government of the Commonwealth of Puerto
           Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v)
           Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780-LTS) (Last Four
           Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy
           Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed
           as Bankruptcy Case numbers due to software limitations).


  210621 ORD RE 15TH AM CMO                                  VERSION JUNE 21, 2021                                        1
